      Case 5:24-cv-00073-SMH-MLH                      Document 1-4           Filed 01/19/24          Page 1 of 8 PageID #:
                                                             12




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 28213991
Notice of Service of Process                                                                            Date Processed: 12/21/2023

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           3 Nationwide Plz
                           Columbus, OH 43215-2410

Electronic copy provided to:                   Ashley Roberts

Entity:                                       Scottsdale Insurance Company
                                              Entity ID Number 3286058
Entity Served:                                Scottsdale Insurance Company
Title of Action:                              Cwc La Properties, L.L.C. D/B/A Big Bass Marina And Meat Market, L.L.C., vs.
                                              Scottsdale Insurance Company
Matter Name/ID:                               Cwc La Properties, L.L.C. D/B/A Big Bass Marina And Meat Market, L.L.C., vs.
                                              Scottsdale Insurance Company (15016669)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Sabine Parish District Court, LA
Case/Reference No:                            072867
Jurisdiction Served:                          Louisiana
Date Served on CSC:                           12/21/2023
Answer or Appearance Due:                     21 Days
Originally Served On:                         Secretary Of State
How Served:                                   Certified Mail
Sender Information:                           Mudd, Bruchhaus & Keating, LLC
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
         Case 5:24-cv-00073-SMH-MLH                 Document 1-4 Filed 01/19/24                  Page 2 of 8 PageID #:
                                       \,                  13 Louisiana
                                                     State of                                     ,                        '
                                                        Secretary of State
                                                             ,       <<
                                                                                                          Legal Services Section
                                                             12/20/2023                    P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                            •                  (225) 922-0415
                                                    \


                                                                                                                      r-
  SCOTTSDALE INSURANCE COMPANY
  C/O CORPORATION. SERVICE COMPANY '                                                              -
  450 LAUREL STREET, 8TH FLOOR                                                         .
.
  BATON ROUGE, LA 70801
                                     ,                                                                                                     •

                                            ,   ,

     Suit No.: 07267.             •                                                                                             .
     11TH JUDICIAL DISTRICT COURT                                                                     •   -,
     SABINE PARISH                                                                           '

     CWC LA PROPERTIES, L.L.C., ET AL
     vs
     SCOTTSDALE INSURANCE COMPANY


     Dear Sir/Madam:

     I am enclosing a citation served in regard to theabove entitled proceeding. If you are not the intended recipient of
     this document, please return it to the above address with a letter of explanation. All other questions regarding this
     document should be addressed to the attorney that filed this proceeding.




                                                                                     Yours very truly,
     J

                                                                                     R. KYLE ARDOIN
                                                                                     Secretary of State
 (                                      ~                            \




Served on: R. KYLE ARDOIN                                                 Date: 12/19/2023
Served by: B GARAFOLA                                                     Title: DEPUTY SHERIFF




KC
                                                                                                               lll 11111Hl1Hm1l 1II1I lI
         ,
              Case 5:24-cv-00073-SMH-MLH                                          Document 1-4 Filed 01/19/24                               Page
                                                                                                                                             rl:.~XJ 3 of 8 PageID #:

              r                                                                           14
                                                                                       CITATION

      CWCLA PROPERTIES LLC, ETAL                                                                                                                     Case: 072867
                                                                                                                l                                    Division:
      Versus                                                                                                                                         11`t' Judicial District Court
                                                                                                                                                     Parish ofSabine
     SCOTTSDALE INSURANCE CO                                                                                                                         State of Louisiana




                                                                                                                                                    SERVED ON
      To:         SCOTTSDALE INSURANCE COMPANY                                                                                                   R. KYLE A.RDON
                  THRO UGH ITS REGISTERED A GENT FOR SER VICE.•
                  LOUISIANA SECRETARY OF STATE                                                                                                       DEC '       2023
                  8585 ARCHIVES A VENUE
                  BATONROUGE, LA 70809                                                                                                      SECRETARY OF STATE
                                                                                                                                            COERCtRL D1alISlON
      Parish ofEAST BA TON R O UGE



                  You are hereby summoned to comply with the demand contained in the PETITION FOR DAMAGES a

      true and correct copy (exclusive of exhibits) accompanies this citation, or make an appearance, either by filing

      a pleading or otherwise, in the 11th Judicial District Court in andfor the Parish of Sabine, State ofLouisiana,

      within twenty-one (21) days after service hereof, under penalty of default.



          GIVEN UNDER MY HAND AND OFFICIAL SEAL, at Many, Parish of Sabine, Louisiana, on this, the
       TH
     11 day of DECEMBER, 2023.                    Shelly Salter
                                                                                                               Clerk of Court


                  Atty:                                                                                        By: Clerk of Court




                                                                              SER VICE INFORMA TION
          Moved, address unknown                        Moved, served at new address of

      — Moved out ofparish                              Address not in Sabine Parish                                 _ Does not live at address given
         vacant Residence                           _ Vacant Lot                                                     _ No such address
          Not known at this address                 _ Needphysical address                                           _Received too latefor service
      _Deceased                                         Other                                                        — Request to hold service by_


     Attempted service date/time/note:
     Attempted service date/time/note:
     Attenipted service date/time/note:
     Attempted service date/time/note:


          PERSONALL Y served on date:

         DOMIGILIARY served on date:                                             Served upon                                     Relationship:

      _ MILEAGE one way

      _ UNABLE TO LOCA TE after a due and diligent search on date:



      Recipient                                                                       Deputy Sheriff
                                                                                                               Sabine Parish Sheriff's Department--Louisiana




                                                                                       [SERVICE COPY ]
~4ac..'_+,F'-:>.D.>;o.d:A:CI;C.v/C.,~...:Y.:OI.tr'ir~;'o..n,.3~~a'o;niuiO.~f.?,O,~siJ,Ni~.vi- ~lO.a.o/2~'~icJd.uyJ~euvai.s
Case 5:24-cv-00073-SMH-MLH            Document 1-4       Filed 01/19/24     Page 4 of 8 PageID #:
                                             15



CWC LA PROPERTIES, L.L.C.~~r p r1 „~: ~ _~         ' llth JUDICIAL DISTRICT
d/b/a BIG BASS MA.RINA AND MEÃT `'           4 ü ~1L ~t
MARKET, L.L.C.             7~~~ ~ T;;
                                         f1P2:i~7
VS. NO.                      !ZE~1t...c~
                                  q, i:> >.,            PARISH OF SABINE
                                     ~, ,~   ~

SCOTTSDALE INSURANCE                                       STATE OF LOUISIANA
COMPANY

FILED:
                                                           DEPUTY CLERK OF COURT

                                PETITION FOR DAMAGES

       NOW INTO COURT, through undersigned counsel, comes Petitioner, CWC LA

PROPERTIES, L.L.C. d/b/a BIG BASS MARINA AND MEAT MARKET, L.L.C., who

respectfully represents:

                                                 1.

       Petitioner, CWC LA PROPERTIES, L.L.C. operated a marina, convenience store and meat

market business in Sabine Parish, Louisiana at 363 Big Bass Lane, Many, Louisiana. At all times

pertinent hereto, CWC LA PROPERTIES, L.L.C. had its principal business establishment in

Sabine Parish, Louisiana.

                                                 2.

       Made Defendant herein is SCOTTSDALE INSURANCE COMPANY (hereinafter

"SCOTTSDALE"), a foreign insurance corporation, licensed to do and doing business in the State

of Louisiana, and with an agent for service in the State of Louisiana to wit: Louisiana Secretary

of State, 8585 Archives Avenue, Baton Rouge, Louisiana, 70809.

                                                 ~

       Venue is proper in the Eleventh Judicial District Court pursuant to Louisiana Code of Civil

Procedure Article 76. This is an action against a property insurance carrier and the loss occurred

in Sabine Parish, Louisiana.

                                                 4.

       Petitioner, CWC LA PROPERTIES, L.L.C. d/b/a BIG BASS MARINA AND MEAT

MARKET, L.L.C., purchased a Commercial Property Policy from Defendant, SCOTTSDALE,

bearing Policy Number CPS7427610. The Policy was in effect on or about January 9, 2022 when

catastrophic winds and tornadoes struck Petitioner's property. The policy was issued insuring

Petitioner's property located at 363 Big Bass Lane, Many Louisiana (hereinafter "the covered

property").
Case 5:24-cv-00073-SMH-MLH              Document 1-4      Filed 01/19/24      Page 5 of 8 PageID #:
                                               16




                                                ~l



       Defendant placed a valuation upon the covered property and used this valuation for

purposes of determining the premium charge to be made under the policy.

                                                ri

       Among other provisions, the policy provided coverage for Petitioners' buildings, boat

docks, business personal property, and business income with extra expenses.

                                                7.

       On or about January 9, 2022, a series of tornadoes and thunderstorms moved across Sabine

Parish, Louisiana. As a result, the covered property was subj ected to catastrophic force winds and

rain for an extended period of time.

                                                8.

       The covered property and contents thereof were severely damaged and/or destroyed by

catastrophic winds and rain.

                                                9.

                Defendant has denied appropriate coverage for all the damages sustained to the

covered property.

                                                10.

       The damages sustained to the covered property occurred prior to the damage to the covered

property by any non-covered peril, including any type of peril purportedly excluded by the policy.

                                                11.

       Defendant has failed to pay the amount of the claim due Petitioner within thirty (30) days

of receipt of satisfactory proof of loss.
Case 5:24-cv-00073-SMH-MLH              Document 1-4       Filed 01/19/24      Page 6 of 8 PageID #:
                                               17



                                                    12.

       Defendant has failed to make a written offer to settle Petitioner's claim within thirty (30)

days after receipt of satisfactory proof of loss.

                                                    13.

       Defendant's failure to pay the amount of Petitioner's property damage claim within thirty

days and the failure to make a written offer to settle Petitioner's property damage claim within

thirty days is arbitrary, capricious and without probable cause. Pursuant to LSA-R.S. 22:1892, in

addition to the amount of damage sustained, Defendant is liable to Petitioner for an additional fifty

percent (50%) in penalties on the amount found to be due from Defendant to Petitioner, or

$1,000.00, whichever is greater, plus reasonable attorney's fees.

                                                    14

        Pursuant to LSA-R.S. 22:1973, Defendant owes Petitioner a duty of good faith and fair

dealing in the handling of the claim. Defendant also has an affirmative duty to adjust Petitioner's

claim fairly and promptly and to make a reasonable effort to settle Petitioner's claim. Defendant

has breached this duty and said breach has been arbitrary and capricious and/or without probable



                                                    15.

        Because of the actions alleged above, Defendant is liable to Petitioner, in addition to any

general or special damages to which Petitioner is entitled for breach of the imposed duty set forth

above, for penalties in an amount not to exceed twice the damages sustained or $5,000.00,

whichever is greater, pursuant to LSA-R.S. 22:1973 and LSA-R.S. 22:1892.

                                                    16.

        Petitioner has sustained general damages, in addition to the damages already alleged, due

to Defendant's breach of the obligations imposed by LSA-R.S. 22:1973 and LSA-R.S. 22:1892,

including mental anguish, inconvenience, worry, and stress. Defendant is responsible for these

damages as well.
Case 5:24-cv-00073-SMH-MLH          Document 1-4        Filed 01/19/24        Page 7 of 8 PageID #:
                                           18



      WHEREFORE, Petitioner, CWC LA PROPERTIES, L.L.C. d/b/a BIG BASS MARINA

AND MEAT MARKET, L.L.C., prays:

      (A.)   That the Defendant, SCOTTSDALE INSURACNE COMPANY, be duly cited and

             served with a copy of this Petition for Damages and be ordered to answer same in

             the manner provided by law;

      (B.)   That after due proceedings, there be judgment herein in favor of Petitioner, CWC

             LA PROPERTIES, L.L.C. d/b/a BIG BASS MARINA AND MEAT MARKET,

             L.L.C., and against Defendant, SCOTTSDALE INSURANCE COMPANY, for

             such damages as the court fmds to be just and reasonable, including penalties and

             attorney's fees, together with legal interest from the date of judicial demand, until

             paid, and for all costs hereof; and

      (C.)   For all orders and decrees necessary in the premises and for full, general, and

             equitable relief.

                                            Respectfully submitted,



                                            DAVID P. BR~CHHAUS (#243g8)
                                            CHAD E. MUDD (#25188)
                                            MATTHEW P. KEATING (#30911)
                                            M. KEITH PRUDHOMME (#14336)
                                            WESLEY A. ROMERO (#33344)
                                            JAMIE C. GARY (#29203)
                                            LENZI C. HEBERT (#38544)
                                            MUDD, BRUCHHAUS & KEATING, LLC
                                            422 E. College Street, Suite B
                                            Lake Charles, LA 70605
                                            Telephone: (337) 562-2327
                                            Facsimile: (337) 562-2391

                                            Attorneysfor Petitioner,
                                            CWC LA PROPERTIES, L.L.C. d/b/a BIG BASS
                                            MARINA AND MEAT MARKET, L.L.C.


PLEASE SERVE:

SCOTTSDALE INSURANCE COMPANY
Through its registered agent for service:
Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809



                                                            ATF.UE COr(-ATeES'f

                                                          DEPUTY VLFRK 11TH JUD!C!;';L
                                                          D!STRICT COURT, SABINE PARISF~, I_.A
                                                                                      0
     R.Case 5:24-cv-00073-SMH-MLH
        KYI.E  ARDOIN               Document 1-4 Filed 01/19/24 Page 8 of 8 PageID #:
                                       '    1I11I11 I111111111111111I1111111 IIIIIIIlllll 111 ~
                                           19
  SEC"e'"R"°Fsr",E
      P.O. BOX 94125                           lllIllIlllllllllllIlIlIVIIIllIMNa~ ~a
BATON ROUGE, LA 70804-9125                    9489 afl9a aa27 6567 7487 19




                                                                                                  FIRST CLASS




 SS151
